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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 ROBERT K. HUDNALL,                              §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §        CAUSE NO. EP-22-CV-36-KC-RFC
                                                 §
 STATE OF TEXAS, et al.,                         §
                                                 §
         Defendants.                             §
                                                 §
                                                 §

                ORDER ADOPTING REPORT AND RECOMMENDATION

       On this day, the Court considered the above-captioned case. On February 1, 2022,

Plaintiff filed a Request for Remand and Request for Hearing (“Motion”), ECF No. 4. On March

1, 2022, the Court referred this case to U.S. Magistrate Judge Robert F. Castañeda for all pre-

trial matters pursuant to 28 U.S.C. § 636(b). ECF No. 19. On March 21, 2022, the Magistrate

Judge filed a Report and Recommendation, concluding that Plaintiff’s Motion should be denied,

ECF No. 36, and Plaintiff was served with a copy of the Report and Recommendation by

certified mail, ECF No. 38. Plaintiff filed no objections to the recommendations of the

Magistrate Judge within fourteen days of service, or at any time thereafter.


       When parties do not file written objections, courts apply a “clearly erroneous, abuse of

discretion and contrary to law” standard of review to a Report and Recommendation. United

States v. Wilson, 864 F.2d 1219, 1221 (5th Cir. 1989) (“[T]he ‘clearly erroneous, abuse of

discretion and contrary to law’ standard of review . . . is appropriate . . . where there has been no

objection to the magistrate’s ruling.”); Rodriguez v. Bowen, 857 F.2d 275, 276–77 (5th Cir.

1988) (“[A] party is not entitled to de novo review of a magistrate’s finding and
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recommendations if objections are not raised in writing by the aggrieved party . . . after being

served with a copy of the magistrate’s report.”). After reviewing the Report and

Recommendation, the Court agrees with the Magistrate Judge’s findings, conclusions, and

recommendations and finds that they are neither clearly erroneous nor contrary to law. See

Wilson, 864 F.2d at 1221.


       Accordingly, the Court ADOPTS the Report and Recommendation, ECF No. 36, in its

entirety, and Plaintiff’s Motion, ECF No. 4, is DENIED.


       SO ORDERED.


       SIGNED this 2nd day of May, 2022.




                                      KATHLEEN CARDONE
                                      UNITED STATES DISTRICT JUDGE
